  Case 3:16-cv-03114-TLB Document 1              Filed 10/25/16 Page 1 of 7 PageID #: 1




                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION



SHANE ROBLEY,


         PLAINTIFF,


vs.                                                         NO.     /((},,. 3/ / lj:
                                                            JURY DEMANDED
BUZZARD ROOST HARBOR, INC. and
BUZZARD ROOST INN, INC.


         DEFENDANTS.



                                         COMPLAINT




         Comes now the Plaintiff, SHANE ROBLEY, by and through undersigned counsel, and


for his cause of action against the Defendant would show to the Honorable Court:


                         PARTIES, JURISDICTION AND VENUE


         1.    Plaintiff, Shane Robley, is a citizen and resident of Munford, Tipton County,


Tennessee, residing at 31 Parkwood Lane, Munford, TN 38058.


         2.    The Defendant, Buzzard Roost Harbor, Inc., is   an   Arkansas corporation with its


agent for service of process being Charles Thitoff, Rt. 9, Box 54-K, Mountain Home, AR 72653.


         3.    The Defendant, Buzzard Roost Inn, Inc., is an Arkansas corporation with its agent


for-service of process being Dennis Dymek, 4271 Buzzard Roost Road, Mountain Home, AR


72653.


         4.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.§


1331 and§ 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act of 1990, 42


U.S.C.§ 12101, et seq.
   Case 3:16-cv-03114-TLB Document 1                 Filed 10/25/16 Page 2 of 7 PageID #: 2




        5.        Pursuant to pendant jurisdiction, an attendant and related cause of action, arising


from the same nucleus of operative facts and arising out of the same transactions, is also brought


under Arkansas's Civil Rights Act and the Common Law.


        6.        Plaintiffs causes of action arise from personal injury and damages sustained as a


result of the Defendants' negligent maintenance of its premises at its boat dock located in


Mountain Home, Baxter County, Arkansas and Defendants' violations of the Americans with


Disabilities Act and Arkansas's Civil Rights Act.


        7.        Venue is proper in this court pursuant to 28 U.S.C.   §   1391(b) and is founded on


the fact that the site of Plaintiff's personal injury and Defendants' violations, which are the


subject of this action, are located in this district and that Plaintiffs causes of action arose in this


district.


                                     FACTUAL ALLEGATIONS


        8.        The Plaintiff, Shane Robley, is a handicapped individual with physical


disabilities. He is a paraplegic who uses a wheelchair for disability.


        9.        On or about June 17, 2015, Plaintiff was visiting the Defendants' boat dock.


            10.   Defendants' location is a facility open to the public, a place of public


accommodation, and a business establishment. .


        11.       Plaintiff was visiting the Defendant's facilities and was rolling down the dock in


his wheelchair when the wheel of Mr. Robley's wheelchair became lodged in a hole on


Defendants' ramp causing Mr. Robley to be ejected from his wheelchair and sustaining serious


bodily injury.


        12.       The Defendants' dock where Plaintiff was injured had rotting, dead boards on the


ramp that were unsafe for disabled individuals.
  Case 3:16-cv-03114-TLB Document 1                    Filed 10/25/16 Page 3 of 7 PageID #: 3




         13.       Defendants appeared to have replaced some rotted boards on the dock's


boardwalk where Plaintiff was injured but decided to only replace one dead board and place a


piece of plywood over the other rotting, dead wood while leaving an open space/ hole.


         14.       Defendants did not provide accessible ramp access to its facilities or remove


known barriers for disabled individuals.


         15.       Additionally, upon information and belief, the Plaintiff alleges that the failure to


remove these barriers was intentional because:       (1) these particular barriers are intuitive and

obvious; (2) the Defendants exercised control and dominion over the conditions at this location


and, therefore, the lack of accessible facilities was not an "accident" because had the Defendants


intended any other configuration, they had the means and ability to make the change.


         16.       Plaintiff suffered serious injuries to his knee and leg as a result of this incident.


         17.       That, by reasons stated herein, and as a direct and proximate result thereof,


Plaintiff suffered physical harm, serious injuries, mental anguish, and damages.


                                          CAUSES OF ACTION
                 COUNT I - Violation of the Americans With Disabilities Act of 1990


         18.       Paragraphs   1 through 17 are incorporated· herein by reference.

         19.       Defendant Buzzard Roost Harbor, Inc. is a "private entity" as defined by the


Americans with Disabilities Act of       1990.

         20.       Defendant Buzzard Roost Inn, LLC. is a "private entity" as defined by the


Americans with Disabilities Act of       1990.

         21.       Plaintiff is a disabled and qualified person under the Americans with Disabilities


Act of   1990.

         22.       Defendant Buzzard Roost Harbor, Inc. committed a discrimination offense under


the Americans with Disabilities Act by infringing on the Plaintiffs right to the full enjoyment of
  Case 3:16-cv-03114-TLB Document 1                 Filed 10/25/16 Page 4 of 7 PageID #: 4




any accommodations, advantages, facilities, or privileges of Defendant Buzzard Roost Harbor,


Inc. in Mountain Home, Arkansas. Specifically, Defendant Buzzard Roost Harbor, Inc., failed to


maintain its facilities in an accessible condition, and failed to comply with the standard


ANSIIBHMA al 56.10-1985 as required by the Department of Justice.


       23.     Defendant Buzzard Roost Inn, LLC, committed a discrimination offense under the


Americans with Disabilities Act by infringing on the Plaintiff's right to the full enjoyment of any


accommodations, advantages, facilities, or privileges of Defendant Buzzard Roost Inn, LLC in


Mountain Home, Arkansas. Specifically, Defendant Buzzard Roost Inn, LLC, failed to maintain


its facilities in an accessible condition, and failed to comply with the standard ANSIIBHMA


a156.10-1985 as required by the Department of Justice.


       24.     That Defendants Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, are


liable to Plaintiff for compensatory and punitive damages, and for attorney's fees because of its


act of discrimination against the Plaintiff under the Americans with Disabilities Act of 1990.


               COUNT II     ..   Violation of the Arkansas Civil Rights Act of 1993


       25.     Paragraphs 1 through 24 are incorporated herein by reference.


       26.     Defendants Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, in


Mountain Home, Arkansas are a "place of public resort, accommodation, assemblage, or


amusement" as defined in the Arkansas Civil Rights Actof 1993. A.C.A. §16-123-102 (2007).


       27.     Defendants Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, committed


a discrimination offense as defined by the Arkansas Civil Rights Act of 1993 by infringing on


the Plaintiffs right to the full enjoyment of any accommodations, advantages, facilities, or


privileges of Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, in Mountain Home,


Arkansas. Specifically, Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, failed to
  Case 3:16-cv-03114-TLB Document 1                  Filed 10/25/16 Page 5 of 7 PageID #: 5




maintain its facilities in an accessible condition and failed to comply with industry standards


relating to its boat dock.


        28.     That Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, is liable to


Plaintiff for compensatory and PU:nitive damages, and for attorney's fees because of its act of


discrimination against the Plaintiff under the Arkansas Civil Rights act of 1993.


                                     COUNT III- Negligence


        29.     Paragraphs I through 28 are incorporated herein by reference.


        30.     Defendants' boat dock was defective and dangerous beyond the expectations of


ordinary consumers, including the Plaintiff, Mr. Robley.


        31.     That Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC are responsible for


maintaining the boat dock, and they negligently failed to maintain the boat dock in a safe


manner.


        32.     That as a commercial boat dock, Buzzard Roost Harbor, �nc. and Buzzard Roost


Inn, LLC, owed a legal duty to the Plaintiff.


        33.     That Defendants, Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC,


breached their duty.of care owed to the Plaintiff.


        34.     That Plaintiff has suffered substantial damages because of the negligence of


Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC.


        35.     The Defendants had a general duty and a duty arising underthe Americans with


Disabilities Act and the Arkansas Civil Rights Act to provide safe, convenient, and accessible


facilities to the Plaintiff. Their breach of this duty, as alleged in the preceding paragraphs, has


caused injury and damage as alleged above.
  Case 3:16-cv-03114-TLB Document 1                 Filed 10/25/16 Page 6 of 7 PageID #: 6




        36.     That Buzzard Roost Harbor, Inc. and Buzzard Roost Inn, LLC, is liable to


Plaintiff for violations of tort law under the Common Law.


                                      PRAYER FOR RELIEF


    WHEREFORE, PREMISES CONSIDERED, YOUR PLAINTIFF PRAYS:


        1.      That proper process be issued and served upon the Defendants, requiring the


Defendants to appear and ariswer this Complaint within the time required by law;


        2.      That compensatory damages in an amount not to exceed one million


($1,000,000.00) dollars be awarded to the Plaintiff and against Defendants for his severe


emotional and physical pain and suffering, emotional distress and mental anguish, medical


expenses- past, present and future, therapy- past, present and future, loss of enjoyment of life,


inconvenience, and compensatory and liquidated damages to Plaintiff;


        3.      That the Court award the Plaintiff punitive damages in an amount not to exceed


two Million Dollars ($2,000,000.00) or such other amount as the jury deems appropriate and


necessary to punish the Defendants for their intentional, reckless, and outrageous conduct and


actions, to deter the Defendants from engaging in similar conduct in the future against other


disabled individuals and their families;


        4.      That the Plaintiff be allowed to amend the ad damnum;


        5.      Plaintiff demands a jury to hear this case;


       6.       That court costs, attorney fees, and pre and post judgment interest be awarded to


Plaintiff and against Defendant pursuant to 42 U.S.C. § 12205, Arkansas Civil Rights Act or


other relevant law; and that Plaintiff be awarded such other general and specific relief to which


the Plaintiff may justly be entitled at law or in equity.
Case 3:16-cv-03114-TLB Document 1    Filed 10/25/16 Page 7 of 7 PageID #: 7




                                          Respectfully submitted,
                                          SHANE            EY




                                    By:
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